              Case 5:16-cr-50001-TLB Document 56                           Filed 08/23/16 Page 1 of 6 PageID #: 234
AO 2458 (Rev. 10/ 15) Judgment in a Crimina l Case
                        Sheet I



                                          UNITED STATES DISTRICT COURT
                                                           Western District of Arkansas
                                                                            )
                UNITED ST ATES OF AMERICA                                   )     JUDGMENT IN A CRIMINAL CASE
                            v.                                              )
                                                                            )
                                                                                  Case Number:            5 : l 6CR50001-002
                                                                            )
                      JOSE LORE ZO LEPE                                     )     USM     umbe r:         141 54-01 0
                                                                            )
                                                                            )     Ru sse ll A. Wood
                                                                            )     Defendant' s Attorney
THE DEFENDANT:
X pleaded gui lty to count(s)        Three (3) of the Indictment on April 29 , 20 16

D pleaded nolo contendere to coun t(s)
   which was accepted by the court.
D was fo und guil ty on count(s)
   after a plea of not guil ty.

The defendant is adj udicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended
2 1 U.S.C. § 84I (a)( I)           Distribution of Methamphetamine                                            10117/2015




The defendant is sentenced as provided in pages 2 through __
                                                           6_            of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
D The defendant has been found not gu ilty on count(s)
X Count(s) One (I) of the Indictment            Xis D are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney fo r this district within 30 days of any change of name, residence, or mailing
address until all fines, restitution, cost , and specia l asses ments imposed by this judgment are fully pai d. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                          Honorable T imothy L. Brooks, United States District Judge




                                                                          D:~;r~3, ~01b
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                          heel 2 - Imprisonment
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 DEFENDANT:                      JOSE LORENZO LEPE
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                                                                 IMPRISONMENT
           T he defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned fo r a
 tota l tenn of:      sixty-three (63) months


     X T he court makes the fo ll owing reconunendations to the Bureau of Prisons:
          The defendant be required to enroll in and complete GED program prior to being allowed to engage in any other programs at the Burea u
          of P risons.


     X The defendant is re manded to the cu tody of the Uni ted States M ar hal.

     0    T he defendant shall surrender to the United States Marshal fo r this distri ct:

          0    at                                   0     a.m.      D p. m.       on

          D as notified by the Uni ted States Marshal.

     0    The defendant shall surrender fo r service of sentence at the institution designated by the Burea u of Prisons:

          D before 2 p.m. on
          D as notified by the United States Marshal.
          0    as notified by the Pro bation or Pretria l Services Offi ce.



                                                                       RETURN
I have executed this judgment as fo llows:




          Defendant delivered on                                                               to

a                                                       , with a certified copy of th is j udgment.



                                                                                                         U !TE D STATES MARS HAL



                                                                               By
                                                                                                      DEPUTY U !TE D STATES MA RSHAL
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                          Sheet 3 -   upervi ed Re lease
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 DEFENDANT:                      JOSE LORENZO LEPE
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                                                            SUPERVISED RELEASE
 Upon re lease from imprisonment, the defendant shall be on supervised release for a tenn of:                 three (3) years




 The defendant must repo rt to the probation office in the district to which the defendant is released within 72 hours ofrelease from the custody
 of the Bureau of Pri sons.
The defendant shall not commit another federal , state or loca l c rime.
The defendant shall no t unlawfull y possess a controlled substance. The defendant shall refrain fro m any unlawful use of a controlled
substance. The defendant hall submit to o ne drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

 D        The above drug testing condition is su pended , based on the court' s determination that the defendant poses a low risk of
          future substance abuse. (Ch eck. if applicable.)

x         The defendant shall no t possess a firearm , ammunitio n, destructive device, or an y other dangerous weapon. (Check. if applicable.)

x         The defendant shall cooperate in the co llection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U .S.C. § I 690 I , et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any tate sex offender registration agency in which he or she re ides,
          works, is a student, or was convicted of a qual ifying offense. (Check. if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
If this judgment impo es a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments heet of this judgm ent.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                            ST AND ARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district witho ut the pennis io n of the court o r probation officer;
   2)      the defendant shall report to the probatio n officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthfully a ll inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defe ndant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawfu l occupation, unless excused by the probation officer for schoo ling, training, o r othe r
           acceptable reasons;
   6)      the de fendant shall noti fy the probatio n officer at lea t ten days prio r to any change in residence or e mployment;
   7)      the defendant shall refrain from exces ive use of alcohol and shall no t purchase, possess, use, distribute, or administer any
           controlled substance or any parapherna lia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not freq uent place where contro lled substances are illega lly so ld, used, distributed, o r administered;
   9)      the defendant shall no t assoc iate w ith any persons engaged in crimina l activity and shall not associate with any person convic ted of a
           fe lony, unless granted pe nnission to do so by the probation officer;
  10)      the defendant shall pennit a probatio n officer to visi t him o r her at any time at ho me o r elsewhere and shall pem1it confi scatio n of any
           contraband o bserved in plai n view of the probation officer;
  11 )     the defendant shall notify the probation officer within seventy-two ho urs of being arrested o r questioned by a law enfo rcement officer;
 12)       the defendant s hall no t e nte r into any agreement to act as an info nne r o r a special agent of a law enforcement agency without the
           penmss1on of the court; and
 13)       as directed by the pro~a ti o n officer, the defendant shall notify.third parties .ofri ks that may be occas i o n~d by .the defenda nt's criminal
           record or personal h1sto1y o r characten st1cs and shall pe nmt the probatio n officer to make suc h not1ficat1ons and to confirm the
           defendant's compli ance w ith such notification requirement.
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        Sheet 3C - Superv ised Re lea e
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                                            SPECIAL CONDITIONS OF SUPERVISION
I. The defendant shall submit to inpatient or outpatient substance abuse testing, evaluation, coun eling, and/or treatment, as may be deemed
necessary and as directed by the U.S. Probation Office.

2. The defendant shall submit his person, residence, place of employment and vehicle to a search to be conducted by the U.S . Probation Officer
at any reasonable time and in any reasonable manner based upon any reasonable suspicion that evidence of any v10 lation of conditions of the
tem1s of supervised release might be thereby disclosed.
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                    Sheet 5 - Crimi na l Monetary Pe nalties
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                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the tota l criminal monetary pena lties under the schedule of payment on Sheet 6.


                     Assessment                                            Fine                                  Restitution
TOTALS             $ 100 .00                                             $ 1,900.00                           $ -0-


D    The detem1ination of restitution is deferred until                  . An Amended Judgm ent in a Criminal Case (A O 245C) will be entered
     after such detemlination.

D The defendant must make resti tution (i nc luding community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall rece ive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment co lumn below. However, pursuant to 18 U.S.C. § 3664(i), a ll nonfedera l victims must be pa id
     before the United States i paid.

Name of Pavee                                Total Loss*                           Restitution Ordered                        Priority or Percentage




TOTALS                             $                                           $


D     Restitution amount ordered pursuant to plea agreement

D     T he defendant must pay interest on restitution and a fine of more than $2 ,500, unless the restituti on or fine is paid in fu ll before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S .C. § 36 12(t). All of the payme nt options on Sheet 6 may be subj ect
      to pena lties fo r delinquency and default, pursuant to 18 U.S .C. § 36 l 2(g).

X     The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

      X   the interest requi rement is waived for the        X    fine     D    restitution.

      D   the interest requirement for the      D    fi ne       D restitution is modified as fo llows:

*Findings fo r the total amount oflosses are required under Chapters I 09A I I 0 11 OA and I l 3A ofT itl e 18 for offenses comm itted on or after
September 13, 1994 , but before April 23 , 1996.                          '     '     '
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                Sheet 6 - Sched ule of Payments
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                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's abili ty to pay, payment of th e total criminal monetary pena lti es is due as follows:

A     X    Lump sum payment of$              2,000 .00           due immed iately, balance due

           D      not later than                                      , or
           X      in accordance          0     C,    0    D,     D     E, or      X F below; or
B     D    Payment to begin immediately (may be combined with                  o c,         D D, or       D F below); or
C     D    Payment in equal                           (e.g .. weekly . monthly, q11ar1erly) insta llments of $                            over a period of
                           (e.g.. mon/lts or years), to commence                           (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                              (e.g.. weekly. mo111!t ly, quarterly) installments of $                          over a period of
                           (e.g., 1110111/ts or years), to commence                           (e.g., 30 or 60 days) after release from imprisonment to a
           tem1 of supervision; or

E     D    Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release fro m
           impri sonment. The co urt will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X    Spec ial instructions regarding the payment of criminal monetary pena lties:
           If not paid immed iately any unpaid fi nanc ial penalty sha ll be paid by the defendant during his term of im{!ri onment at a ra te of up
           to 50% of the defendant' s ava ilable funds, in accordance with the Inmate Financial Responsibility Program. During residential reentry
           placement, pa_yments shall be I 0% of the defendant' s gross monthly income. The payment of any remaining bal ance shall become
           a cond ition of supervised re lease and shall be [.)aid in monthly in tallments of 75.00 or 15% of defendant's net monthly hou eho ld
           inco m~ , whichever is greater, with the entire b a lance to be paid in full no later than one month prior to the end of the period of
           supervised release.


U nless the court has expressly ordered otherwise, if this judgment imposes imprisonment, p ayment of criminal m o ne t~ penalties is due during
imprisonment. All crimina l monetary pena lties, except fh ose payments made through the Federa l Bureau of Prisons' Inmate Financi al
Responsibility Program, are made to the clerk of the court.

T he defendant shall receive credit fo r all payments previously made toward any crin1inal monetary penalties imposed.




D     Jo int and Several

      Defendant and ~o-D efend a nt Name~ and Case Numbers {including def enda nt number) , Total Amount, Joint and Several Am ount,
      and correspond mg payee, tf appropriate.




D     T he defendant shall pay the cost of prosec ution.

D    T he defendant shall pay the fo llowing court cost(s):

D    The defendant shall fo rfe it the defendant's interest in the foll ow ing property to the United States:


PaY1}1en ~s shall be applied inthe fo llow.ing order: ( I) !l-SSessment, (2) re~titutiqn principal, (3) restitution interest, (4) fine principal,
(5) fine mterest, (6) conunu111 ty rest1tut1on, (7) penalti es, and (8) co ts, mcludmg cost of prosecution and court costs.
